                   UNITED STATES BANKRUPTCY COURT
       FOR THE EASTERN DISTRICT OF MICHIGAN - NORTHERN DIVISION

In the Matter of:
                                                     CHAPTER 13 PROCEEDING
BLANCA S. RODRIGUEZ                                  CASE NUMBER: 19-20324
                                                     HONORABLE DANIEL S. OPPERMAN
      Debtor(s)                              /

                                ORDER CONFIRMING PLAN

       The debtor(s) Chapter 13 Plan was duly served on all parties in interest. A hearing on
confirmation of the plan was held after due notice to parties in interest. Objections, if any, have
been resolved. The court hereby finds that each of the requirements for confirmation of a
Chapter 13 Plan pursuant to 11 U.S.C. §1325(a) are met.

      Therefore, IT IS HEREBY ORDERED that the debtor(s) Chapter 13 Plan as last
amended, if at all, is confirmed.

        IT IS FURTHER ORDERED that the claim of Robert Shelton, Attorney for debtor(s),
for the allowance of compensation and reimbursement of expenses is allowed in the total amount
of $3,500.00 in fees, and that the portion of such claim which has not already been paid, to wit
$3,500.00 shall be paid by the trustee as an administrative expense of this case.

        All timely filed claims to which an objection has not been filed are deemed allowed
pursuant to 11 U.S.C. §502(a), and the trustee is therefore ORDERED to make distribution on
these claims pursuant to the terms of the Chapter 13 Plan, as well as all fees due the clerk
pursuant to statute.

        IT IS FURTHER ORDERED that in Class V of the Plan, the term “crammed” refers to
the bifurcation of a claim pursuant to 11 U.S.C. section 506 and is not applicable to 910 vehicle
claims; and the term “modified” refers to a change in the interest rate or other terms not relating
to collateral value, and the secured creditor will be paid equal monthly payments pursuant to the
amount as recited in the claim.

       IT IS FURTHER ORDERED that the leases with Aaron’s Rental and Rent a Center are
hereby rejected.

Approved as to Form & Content:

/s/Thomas W. McDonald, Jr.                           /s/Robert Shelton
Thomas W. McDonald, Jr. (P32464)                     Robert Shelton (P81288)
Chapter 13 Trustee                                   Attorney for debtor(s)
3144 Davenport                                       1109 Court Street, (2nd Floor)
Saginaw, Michigan 48602                              Saginaw, Michigan 48602
Telephone: (989) 792-6766                            Telephone: (989) 401-4456



  19-20324-dob       Doc 17     Filed 05/10/19     Entered 05/10/19 08:13:40          Page 1 of 2
ecf@mcdonald13.org                           Email: lawyershelton@gmail.com




Signed on May 10, 2019




  19-20324-dob   Doc 17   Filed 05/10/19   Entered 05/10/19 08:13:40   Page 2 of 2
